                        IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                CHARLOTTE DIVISION

UNITED STATES OF AMERICA                              )
                                                      )
               v.                                     )       CASE NO. DNCW3:05CR277-14
                                                      )       (Financial Litigation Unit)
KEITH BOOKER,                                         )
                                                      )
and                                                   )
                                                      )
NEIGHBORHOOD ASSISTANCE                               )
CORPORATION OF AMERICA,                               )
               Garnishee.                             )

                        ORDER OF CONTINUING GARNISHMENT

        THIS MATTER is before the Court on the Answer of Neighborhood Assistance

Corporation of America as Garnishee. On August 23, 2006, the Honorable Lacy H. Thornburg

sentenced Defendant to twelve months probation for his conviction of Conspiracy to Defraud the

United States in violation of 18 U.S.C. §§ 371 & 1349. Judgment in the criminal case was filed on

September 11, 2006 (Docket No. 507). As part of that Judgment, Defendant was ordered to pay an

assessment of $100 and restitution of $51,262.00 to the victims of the crime. Id.

        On July 3, 2012, the Court entered a Writ of Continuing Garnishment ("Writ") (Docket No.

701) to Garnishee, Neighborhood Assistance Corporation of America ("Garnishee"). The United

States is entitled to a wage garnishment of up to 25% of net income and has satisfied the

prerequisites set forth in 15 U.S.C. § 1673. Garnishee was served with the Writ on July 9, 2012.

Defendant was served with the Writ on July 21, 2012. Garnishee filed an Answer on July 17, 2012

(Docket No. 708) stating that at the time of the service of the Writ, Garnishee had in their custody,

control or possession property or funds owned by Defendant, including non-exempt disposable

earnings.




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       IT IS THEREFORE ORDERED that an Order of Continuing Garnishment is hereby

ENTERED in the amount of $21,211.31 computed through June 27, 2012. Garnishee will pay the

United States 25% of Defendant's net earnings which remain after all deductions required by law

have been withheld, and 100% of all 1099 payments, and Garnishee will continue said payments

until the debt to the Plaintiff is paid in full, or until Garnishee no longer has custody, possession or

control of any property belonging to Defendant, or until further Order of this Court.

       Payments should be made payable to the United States Clerk of Court and mailed to the

Clerk of the United States District Court, 401 West Trade Street, Charlotte, NC 28202. In order to

ensure that each payment is credited properly, the following information should be included on each

check: Court Number DNCW3:05CR277-14.

       Plaintiff will submit this debt to the Treasury for inclusion in the Treasury Offset Program.

Under this program any federal payment Defendant would normally receive may be offset and

applied to this debt.

                                                   Signed: September 4, 2012




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